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11

12                                    UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14                                          SAN JOSE DIVISION
15

16   In re Ex Parte Application of                   CASE NO. 5:23-MC-80015
17   FREDRIC N. ESHELMAN,
                                                     DR. ESHELMAN’S EX PARTE APPLICATION
18   Applicant,                                      FOR AN ORDER PURSUANT TO 28 U.S.C.
                                                     § 1782 GRANTING LEAVE TO OBTAIN
19   For an Order Pursuant to 28 U.S.C. § 1782       DISCOVERY FOR USE IN FOREIGN
     Granting Leave to Obtain Discovery for Use in   PROCEEDINGS
20   Foreign Proceedings.
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     CASE NO. 5:23-mc-80015                          EX PARTE APPLICATION PURSUANT TO 28 U.S.C. § 1782
              Case 5:23-mc-80015-EJD Document 1 Filed 01/13/23 Page 2 of 2




 1          Petitioner Fredric N. Eshelman (“Dr. Eshelman”), through counsel, applies to the Court for an

 2 order under 28 U.S.C. § 1782(a) granting him leave to issue subpoenas to Google LLC (“Google”) to

 3 produce documents and give testimony for use in contemplated lawsuits against an anonymous John Doe

 4 in Germany and India. Dr. Eshelman seeks this discovery to obtain identifying information (IP addresses,

 5 phone numbers, and names) associated with a pseudonymous email account used to spread defamatory

 6 communications about him, so that he may identify and locate Doe for the litigation. As explained in the

 7 accompanying memorandum, this Application meets each of the statutory and discretionary factors

 8 routinely considered in determining whether to grant discovery under Section 1782.

 9          The Court should consider this Application ex parte. “Applications brought pursuant to 28 U.S.C.

10 § 1782 typically are considered on an ex parte basis, since ‘parties will be given adequate notice of any

11 discovery taken pursuant to the request and will then have the opportunity to move to quash the discovery

12 or to participate in it.’” In re Apple Retail UK Ltd., No. 20-mc-80109, 2020 WL 3833392, at *2 (N.D.

13 Cal. July 8, 2020) (quoting IPCom GMBH & Co. KG v. Apple Inc., 61 F. Supp. 3d 919, 922 (N.D. Cal.

14 2014)); see also In re Republic of Ecuador, No. 10-mc-80225, 2010 WL 3702427, at *2 (N.D. Cal. Sept.

15 15, 2010); In re Letters Rogatory from Tokyo Dist., 539 F.2d 1216, 1219 (9th Cir. 1976).

16          This Application is supported by the memorandum of points and authorities filed herewith, and

17 the Declarations of Daniel P. Watkins (“Watkins Decl.”) and Dr. Fredric N. Eshelman (“Eshelman

18 Decl.”). A proposed order is filed herewith, and the proposed subpoenas to be served on Google are

19 attached to this Application as Exhibits A and B.

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21 DATED: January 13, 2023                              Respectfully submitted,

22                                                      CONRAD | METLITZKY | KANE LLP
23
                                                        /s/ William J. Cooper
24                                                      Mark R. Conrad
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     CASE NO. 5:23-mc-80015                            EX PARTE APPLICATION PURSUANT TO 28 U.S.C. § 1782
